             Case 2:10-cr-00474-KJD-PAL      Document 50        Filed 09/07/11    Page 1 of 1



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     4                 .                                      ckqnK,t,.s.nls'rnlcT couv
                                                                 DISTRICT OF NEVADA
     5                                                   BY                           DEpun

     6                       U NITED STA TES DISTR ICT C O UR T
                                   DISTR ICT O F NEVAD A
     7
         UNITED STATES 0F AMERICA,                 )
     8                                             )
                           Plaintiff,              )
     9                                             )
              v.                                   )            i:1O-CR-474-KJD (PAL)
    l0                                              )
         JACOB CAIU=TILP,                           )
    11                                             )
                           Defendant.              )
    l2
                              FINAL ORDER OF FO RFEITURE AS TO
    13                           DEFENDANT JACOB CARL TILP
    14        On Jtme 7,20l1,this Courtentered a Preliminary OrderofForfeiture pursuantto Fed.R   .




I   15 Crim.P.32.2(b)(1)and(2);Title 18,United StatesCode,Section924(d)(1)and Title28sUnited
    16 StatesCode, Section 2461(c)forfeiting property ofdefendantJACOB CARL TILP totheUnited
    17 StatesofAmerica, Docket#41.

    18        IT IS HEREBY ORDERED,ADJUDGED,AND DECREED pursuantto Fed. R ,Crim .P
E   19 32,2(b)(4)(A)and (B);Titl
                               e 18,UnitedStatesCode,Section924(d)(1)arld Title28,UnitedSGtes
    20 Code,Section2461(c),thattheforfeitureofthepropertynamedinthePreliminazyOrderofForfeiture
    21 istinalasto defendantJACOB CARL TILP.
              DATED this '-IVXdayof 5,<e-
                                        c                      20l1
                              '
    22                                                     ,       .



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                                               LTNITED STATES Dls-
                                                                 rltlc'rJUDGE
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